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Of Attorneys for Defendants




                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON
                                      EUGENE DIVISION




 JOHN DOE;                                                       Case No. 6:17-CV-01103-MK

                Plaintiff,                             PARTIAL SETTLEMENT
                                                       AGREEMENT
         v.
                                                       ORS 17.095
 UNIVERSITY OF OREGON; SANDY
 WEINTRAUB, an individual acting in his
 personal capacity; CAROL MILLIE, an
 individual acting in her personal capacity;
 and ROBIN HOLMES, an individual acting
 in her personal capacity;

                Defendants.


        Pursuant to ORS 17.095, attached is a true copy of the parties’ partial settlement

agreement. The legal name of Petitioner John Doe has been redacted.


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/////

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   DATED: December 23, 2019.

                                   HERSHNER HUNTER, LLP



                                   By /s/ Amanda M. Walkup
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        IN THE CIRCUIT COURT OF THE STATE OF OREGON

                    FOR THE COUNTY OF LANE

                        HON. R. CURTIS CONOVER

                          COURTROOM NO. 205

   JOHN DOE,                                 )
                                             )
                Petitioner,                  )
                                             )
          vs.                                )   Case No. 16CV30413
                                             )
   UNIVERSITY OF OREGON,                     )
                                             )
                Respondent.                  )
                                             )
                                             )

                   TRANSCRIPT OF PROCEEDINGS

                  TUESDAY, DECEMBER 13, 2016

   APPEARANCES:

   For the Petitioner:                       Ms. Janet Lee Hoffman
                                             Mr. Douglas J. Stamm
                                             1000 SW Broadway
                                             Suite 1500
                                             Portland, OR 97205
                                             503/222-1125

   For the Respondent:                       Ms. Amanda Walkup
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   audio CD by:                              Jan R. Duiven
                                             CSR, FCRR, CRC




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 1                           THE COURT:     -- very much.         I

 2      understand this is a big issue, and probably a

 3      part of the decision is to maintain sight on this

 4      particular case as opposed to what may be

 5      construed as a bigger issue in here.                  And by that

 6      what I mean is obviously the discrepancy or the

 7      variation in authority concerning the various

 8      federal courts as to whether or not there's a due

 9      process entitlement or right to due process here

10      in the college disciplinary proceeding.

11                           Having said all that, though, an

12      accused student in the place of -- in the place of

13      John Doe is entitled to procedural protections.                     I

14      think we all agree with that, and the extent is to

15      how much.

16                           Whether it's required by the

17      constitution or not, certainly those protections

18      need to take into account, one, the seriousness of

19      the proceeding in and of itself.                 Frankly, I do

20      not know any other type of disciplinary matter in

21      a university setting that would be as serious as

22      this.   I think everybody agrees with that --

23                           MS. HOFFMAN:         Yes.

24                           THE COURT:     -- given the conduct

25      that's alleged to have occurred and the harm, and


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 1      even other potential harm to a complaining

 2      witness.

 3                           Also the -- given the consequences

 4      and the ramifications of being found in violation

 5      of this offense, including the sanctions which are

 6      by no means minimal, that all requires, I believe,

 7      a certain fundamental amount of procedural

 8      protections.

 9                           In this case, I do find based on my

10      position here that the procedural protections were

11      not properly afforded to John Doe.              And what I'm

12      relying on is, first of all, the -- whether or not

13      the university followed its applicable procedures,

14      and I am adopting the -- by means of a record, I'm

15      adopting the Appendix 1 attached to Ms. Hoffman's

16      supplemental memorandum outlining those

17      deficiencies in the procedural process in this

18      entire proceeding.

19                           Other than, of course, as to on page

20      2, failing to require Jane Roe's advisor to answer

21      questions, whether that be insist or demand, but

22      some sort of more assertive request to have those

23      questions answered.

24                           Obviously, as indicated in many of

25      the federal cases that I have read, it always sets


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 1      out that when other cases where credibility's an

 2      issue, additional procedural protections may

 3      apply.    And whether -- I'm not going to go and

 4      say, well, this is the case where that will occur.

 5      This certainly does, given the issues raised by

 6      the credibility question, whether or not the

 7      hearings officer believed Mr. Doe or Ms. Roe

 8      certainly by way of procedural fairness, it is

 9      incumbent to allow or to consider -- be able to

10      consider all portions which would amount to a

11      credibility determination or facts giving rise to

12      credibility.

13                           Whether or not Mr. Doe was able to

14      respond -- I'm moving -- jumping back to the

15      Exhibit R -- or whether or not he was able to

16      respond to that as indicated in the advisor's

17      email, I do find that Mr. Doe was not afforded the

18      ability to provide a meaningful response for the

19      reasons stated earlier today.

20                           MS. WALKUP:      I'm sorry, your Honor.

21      And that was to Exhibit R?

22                           THE COURT:     Yes.

23                           MS. WALKUP:      Thank you.

24                           THE COURT:     And, furthermore, the

25      trauma-induced or trauma-focused investigation, I


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 1      understand where we're going there with that, but,

 2      frankly, given the importance of that to the

 3      decision-maker's ultimate decision, and to the

 4      variances of the actual facts which were presented

 5      at the hearing or in the course of the

 6      investigation, there certainly should have been

 7      some disclosure of what exactly this type of

 8      education should have been -- should have been

 9      provided to Mr. Doe at the hearing or certainly in

10      the process.

11                           I also -- so I adopt the -- as far

12      as the record here, I adopt the Appendix 1

13      indicating -- setting out the procedural

14      violations and for which the particular rule or

15      Student Code of Conduct applies were violated.

16                           Other than the last entry on page 5,

17      at this point, in spite of your heartfelt

18      argument, Ms. Hoffman, I'm not prepared to state

19      that Ms. Millie was biased in -- against John Doe.

20      Certainly a reasonable reviewer could draw that

21      conclusion.     I'm not in a position to do that,

22      given the cases, that there needs to be something

23      shown more to reflect or demonstrate an actual

24      bias against one of the parties.

25                           And, likewise, whether or not


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 1      Ms. Millie was impartial, I'm not prepared to make

 2      that finding here today in this -- in this matter.

 3      Although, certainly, as I indicated before, a

 4      reasonable reviewer could make -- draw that

 5      interpretation based upon the comments you made.

 6      I'm not finding that.

 7                           Likewise, based upon my findings

 8      here that the university did not follow its own

 9      procedures to the detriment of Mr. Doe, that does

10      not -- I do not need to get to the constitutional

11      requirements.        I do that purposefully.          That is an

12      issue -- I believe it's going to be resolved at

13      some point.     I'm not sure I'm at a point since I

14      can find that these -- the university did not

15      comply with its set procedures in these ways as

16      set forth by John Doe, I don't think it's

17      necessary to get to that constitutional argument.

18                           That would likely have many

19      ramifications beyond this particular case, and I

20      do not think this is the case to create those

21      sorts of ramifications down the road.

22                           Here's the bottom line, and perhaps

23      to Ms. Walkup, to give you some idea where I'm

24      coming from on this, just the -- not only from

25      what Ms. Hoffman has indicated, setting aside the


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 1      impartiality and bias arguments, but simply the

 2      fact of the lack of the timeliness in allowing

 3      the -- John Doe and Ms. Hoffman to respond to

 4      things, the using of Officer Meyers even though

 5      she may have, in good faith, attempted to get some

 6      information on that, by not including that in the

 7      report or in the findings, or particularly not

 8      allowing Ms. Hoffman notification of that or even

 9      that that was being considered at the time of

10      writing the report, I'm finding that should have

11      been done to comply with just a fundamental

12      fairness here.

13                           Likewise, with the Facebook posting,

14      whether or not she declined -- indicated that she

15      would draw the same conclusion whether or not she

16      considered that, it was in evidence.                  I'm not sure

17      why she wouldn't.        But the bottom line is is that

18      it was accepted following the hearing, following

19      the close of the record, and whether or not it was

20      being considered or not, it was still evidence as

21      to credibility.

22                           And that really is where we're

23      getting on to with the procedure here, is the fact

24      that it was still in evidence that should have

25      been considered and should have been provided to


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 1      Mr. Doe prior to when it was done.

 2                           There was some explanation as to why

 3      it was being received and with an ample

 4      opportunity to respond to that which would have

 5      been considered in the record, and so it would

 6      have been considered or at least acknowledged by

 7      the appellate review.

 8                           Therefore, based upon these

 9      findings, I will reverse the finding of the

10      University of Oregon and vacate the sanction

11      imposed given the record that we have at this

12      point.

13                           Ms. Hoffman, are there any other

14      findings you wish me to make?

15                           MS. HOFFMAN:         No, your Honor.      We'd

16      be glad to prepare the order if you'd like.

17                           THE COURT:     I can simply provide

18      that judgment.

19                           MS. HOFFMAN:         Thank you.

20                           THE COURT:     Ms. Walkup.

21                           MS. WALKUP:      Your Honor, I'd like to

22      ask a question in clarification, because your

23      findings are based on failure to follow the

24      process.    If I'm understanding your ultimate

25      decision is to reverse and vacate, but not remand,


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 1      why would you not remand to allow the university

 2      to redo this in compliance with its policies and

 3      procedures?     I think I can -- can I ask you that

 4      question?

 5                           THE COURT:      How can we do that at

 6      this point in time?

 7                           MS. WALKUP:      Pardon?

 8                           THE COURT:      How can we do that at

 9      this point in time?

10                           MS. WALKUP:      Do what, remand it?

11                           THE COURT:      And simply going through

12      the -- and I'm using Ms. Hoffman's list just as a

13      shorthand for identifying these particular

14      procedural deficiencies.            So going through and

15      redoing all of this with now providing a new

16      hearing date set out and new attempts to address

17      the -- for example, the Facebook posting, the

18      advisor's nontestifying, I just don't see what

19      that's going to do at this point in time.

20                           MS. WALKUP:      Well, I think what it

21      would do is because these are fairly narrow

22      issues -- I'm not sure.           And I'm doing this on the

23      fly -- but I'm not sure that a new administrative

24      conference would be required.             These are all

25      issues that are known to the parties.


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 1                           And if the objection is based off of

 2      the petitioner's inability to timely respond, then

 3      that could be granted.          If it's based off of the

 4      university's -- off of the lack of the advisor's

 5      response, that could be addressed.

 6                           So rather than say that we missed 18

 7      people's witness testimony that were proffered,

 8      but we didn't listen to them or, you know,

 9      something like that which would require a much

10      more wholesale evaluation, these issues that you

11      are addressing are very discrete.

12                           And so I would think that we -- one

13      way we could do this is remand with instructions

14      to comply with your directions and a timeframe in

15      which to do so rather than vacate.               I don't know

16      why we would vacate if it's a procedural issue.

17                           MS. HOFFMAN:         Your Honor, we could

18      not disagree with Ms. Walkup more.               One of our

19      main ones is the testimony was 100 percent

20      uncontroverted that the alleged abuse occurred at

21      3:24 in the morning.

22                           There could have been -- if you

23      hadn't used the trauma-induced whatever, which is

24      one of our procedural violations, I believe he

25      would have been found, using other terms, not


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 1      responsible.     He would have been exonerated.               So

 2      to just send it back and cure it is not dealing

 3      with the core fundamental problems that occurred

 4      here.

 5                           They went to the sanctity of this

 6      proceeding, because the only way to have avoided a

 7      finding that this never happened was to impose

 8      this trauma-induced whatever that we were never

 9      allowed to even confront.           And so to require him,

10      then, to just have it be remanded doesn't deal

11      with the problem.

12                           If they wish, the university, to

13      sort this out internally and figure out what

14      they're going to do, that's up to them to figure

15      out.     But just sending it back can't be resolved,

16      because these go to the very core.

17                           Their credibility.        How you would

18      have resolved a disputed fact?             I'm not saying

19      that would be your job, but they go to the essence

20      of it.     There's unrefuted testimony that it

21      happened at 3:24, but Ms. Millie -- the only

22      finding she makes is it didn't happen at 3:24.

23      And the complainant's whole story is it happened

24      at 3:24.     In any other situation, that would be

25      it.     You'd be done.


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 1                           So to just remand it back, there's

 2      no finding that you can remand it back to.

 3                           MS. WALKUP:      The arguments that were

 4      just raised by the petitioner's counsel, though,

 5      goes to determination of credibility and the

 6      merits.    I didn't hear your findings based off of

 7      a lack of substantial evidence, which would be to

 8      the merits of the case.          This was a procedural

 9      decision that we needed to give more time and

10      certain people needed to respond, et cetera.

11                           As to the trauma-induced --

12      trauma-informed investigatory process, if that is

13      an issue which you obviously have outlined, again,

14      that is something that can be done in the ordinary

15      course by allowing an expert witness to respond or

16      to provide testimony to try to get to that issue,

17      if it's going to be treated as expert, so that we

18      go expert to expert.

19                           But this -- based off of your

20      findings that this is a procedural problem, then

21      to just drop the whole thing and act as though

22      this complaint didn't happen, I think it would

23      be -- it's not -- it's not the conclusion that

24      follows your findings.          Procedural, we can fix.

25                           MS. HOFFMAN:         You sure can't fix it


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 1      in this hearing.        And it would require Mr. Doe to

 2      be subjected to a whole other hearing, and that

 3      whole other hearing where he's already won the

 4      battle on it didn't happen at 3:24, and that was

 5      the entire front-loaded case of the complaining

 6      witness.    To then require where that is a finding

 7      by Ms. Millie, you certainly couldn't go back to

 8      Ms. Millie on this.

 9                           I mean, we'd have -- it would

10      require him to have every one of the onerous

11      burdens on him again that he's been living with

12      for almost a year in this matter.

13                           THE COURT:     Yes, Ms. Walkup.

14                           MS. WALKUP:      My only point would be

15      that this is very similar to remand in a trial

16      proceeding, which is can it be done -- do we --

17      again, I'm not even convinced that we'd have to

18      have a new hearing.         But, I mean, if we could be

19      doing this through evidence, because the way --

20      our university's proceeding is set up that

21      administrative conference is only one portion.                   A

22      lot of the stuff does happen on paper.

23                           So even if -- I don't think we'd

24      have to have a new hearing.               I think it would be

25      instructions on the issues that you've


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 1      highlighted.     Go back.       Figure it out.          You get

 2      however long to get it done.              And then we would

 3      get a new finding based off of the new information

 4      that had been produced.

 5                           So it's not like you just send it

 6      back with no -- with no instruction.                  But it

 7      seems --

 8                           THE COURT:     Right.

 9                           MS. WALKUP:      -- very drastic to

10      vacate.

11                           THE COURT:     I understand your point

12      clearly.     I do not believe that will clarify or

13      resolve this at this -- these problems at this

14      point.     For example, using Ms. Hoffman's words, of

15      course, just by means of shorthand, the disclosing

16      of Jane Roe's new explanation for the destruction

17      of the incriminating iMessages the day of the

18      hearing, allowing no opportunity to prepare a

19      response, in a sense, the damage has been done at

20      this point.

21                           And allowing now giving -- now that

22      we've had some time and now providing another four

23      weeks or whatever you want to say to address that

24      further, that's not -- I don't believe that's

25      curing that procedural defect.


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 1                           What I'm saying is that that did not

 2      comply with giving a reasonable access to the case

 3      file prior to and during the conference.                 And if I

 4      recall correctly in the statements here today,

 5      that response had been received at least two days

 6      before.

 7                           MS. HOFFMAN:         Correct.

 8                           THE COURT:     And I certainly -- I do

 9      recall from the record that not only in this

10      particular instance, but in other instances there

11      were many communications given back and forth

12      after business hours and on weekends.                 There's no

13      reason to delay that and simply just put that on

14      on the day of the hearing.

15                           The undocumented interviews of Jane

16      Roe -- and I understand your reference to that one

17      exhibit, Ms. Walkup -- but what I understood

18      Ms. Hoffman to say is there were references to

19      other -- from Jane Roe herself -- references to

20      other conversations with with Ms. Millie and even

21      Officer Meyers that were not specifically -- or

22      the entirety was not documented which, again,

23      according to fairness that would be -- that would

24      be -- require Mr. Doe having access to that.

25                           Not allowing or allowing the


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 1      witnesses or the parties to testify in separate

 2      rooms without being able to observe the others --

 3      the other party, whether or not a video conference

 4      or being -- appearing live is -- would be

 5      sufficient, I'm not going to make that call at

 6      this point.     But the bottom line, I find it

 7      critical that given a question in this case

 8      involving -- solely involving the credibility of

 9      the two parties is the ability of the

10      decision-maker and all the parties to personally

11      observe the witnesses during their testimony and

12      their -- particularly their appearances and

13      demeanor when being asked questions in

14      cross-examination, whether that's propounded by

15      the hearings officer or by a party or the advisor,

16      that's critical.

17                           So I'm not going to say how that

18      needed to be done, but certainly I find should

19      have been done in some respect to allow all

20      parties to -- the parties to observe one another

21      during the testimony as Ms. Millie was able to

22      observe them.

23                           Anything further?

24                           MS. HOFFMAN:         Nothing further.

25      Thank you, your Honor.


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 1                           MS. WALKUP:      Just as one last

 2      question.    I'm assuming this, but I want to just

 3      clarify because this is a big deal for us.                   Based

 4      off of your ruling, the university is pro- --

 5      prevented from revisiting -- bringing this whole

 6      new -- bringing this as a new matter?

 7                           THE COURT:     Yes.

 8                           MS. WALKUP:      Thank you.

 9                           THE COURT:     I'll provide a judgment.

10                           MS. HOFFMAN:         Thank you.

11                           THE COURT:     I'm simply refer to the

12      findings made on the record.

13                           MS. HOFFMAN:         Thank you, your Honor.

14                           THE COURT:     Unless you request

15      something different.

16                           MS. HOFFMAN:         Nothing different.

17                           THE COURT:     I thank you both,

18      Counsel --

19                           MS. HOFFMAN:         Thank you very much.

20                           THE COURT:     -- for your comments

21      today.

22                           MS. WALKUP:      Thank you.

23                           MR. STAMM:     Thank you.

24                           THE COURT:     We're in recess.

25                           MS. HOFFMAN:         Thank you.


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 1            (The proceedings concluded at 3:58 p.m.)

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 1                           C E R T I F I C A T E

 2

 3

 4      STATE OF OREGON              )
                                     )
 5      County of Lane               )

 6

 7                      I, JAN R. DUIVEN, Certified Shorthand

 8      Reporter for the State of Oregon, in and for the

 9      County of Lane, do hereby certify that the

10      foregoing pages 1 to 229, comprise a complete,

11      true, and correct transcript, transcribed from

12      audio CD to the best of my ability, of the

13      proceedings held in the above-entitled matter on

14      TUESDAY, DECEMBER 13, 2016.

15

16             Dated at Eugene, Oregon, this 22nd day of

17      December, 2016.

18

19

20


21                      JAN R. DUIVEN, CSR, FCRR, CRC

22                      Certified Shorthand

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                                         APPENDIX 1

            VIOLATIONS OF UNIVERSITY’S APPLICABLE PROCEDURES

                       Rule                                              Violation(s)
“The following procedural protections are              Disclosing Jane Roe’s counsel’s new
provided to accused students in administrative         explanation for Jane Roe’s destruction of the
conferences: (a) Reasonable access to the case         allegedly incriminating iMessages on the day
file prior to and during the conference, except        of the hearing, thereby affording John Doe no
to the extent access to such material is               opportunity to prepare a response.
prohibited by law.” University of Oregon               UO_000758-60.
Student Conduct Code § 1(III)(2)(a).
UO_000036.                                             Failing to provide John Doe access to the full
                                                       record because Millie conducted
                                                       undocumented interviews of Jane Roe without
                                                       disclosing to John Doe the information thereby
                                                       collected. Compare UO_000758-60 with
                                                       UO_000623-57.

                                                       Failing to provide John Doe access to the full
                                                       record by allowing Jane Roe to testify in a
                                                       separate room, while the decision-maker was
                                                       able to observe all of Jane Roe’s nonverbal
                                                       testimony and her demeanor. Tr. of
                                                       Proceedings at 1.

“The following procedural protections are              Disclosing Jane Roe’s counsel’s new
provided to accused students in administrative         explanation for Jane Roe’s destruction of the
conferences . . . (b) An opportunity to respond        allegedly incriminating iMessages on the day
to all information provided and to ask the             of the hearing, thereby affording John Doe no
Director or designee hearing the case to contact       opportunity to prepare a response.
relevant and necessary witnesses.” University          UO_000758-60.
of Oregon Student Conduct Code §
1(III)(2)(b). UO_000036.                               Ms. Millie’s failing to provide John Doe with
                                                       information as to whether, during the
                                                       investigation, Jane Roe disclosed to her that the
                                                       iMessages had been intentionally destroyed.
                                                       UO_001019-21.

                                                       Failing to provide John Doe access to the full
                                                       record because Millie conducted
                                                       undocumented interviews of Jane Roe without
                                                       disclosing to John Doe the information thereby

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                                                        collected. Compare UO_000758-60 with
                                                        UO_000623-57.

                                                        Failing to provide John Doe access to the full
                                                        record by allowing Jane Roe to testify in a
                                                        separate room, while the decision-maker was
                                                        able to observe all of Jane Roe’s nonverbal
                                                        testimony and her demeanor. Tr. of
                                                        Proceedings at 1.

                                                        Failing to require Jane Roe’s advisor to answer
                                                        questions regarding her explanation for the
                                                        change in story about deletion of the iMessages
                                                        UO_000881; UO_001049-50.

                                                        Ms. Millie relied on undisclosed “expert”
                                                        evidence concerning trauma’s effect on a
                                                        victim’s memory to excuse the Complainant’s
                                                        inconsistencies regarding the time of the
                                                        alleged assault. Ms. Millie announced this
                                                        “expert” evidence in her decision, allowing
                                                        John Doe no opportunity to refute the pseudo-
                                                        scientific assumptions on which Ms. Millie
                                                        relied. UO_0001071-72.

“[T]he Accused Student and the Complainant              Without a showing of good cause, Millie
will be afforded an opportunity to review the           admitted to the record (after the conclusion of
record for a period of five days after the              the fact-gathering process) a Facebook
conclusion of the fact-gathering investigation.         message submitted by Jane Roe upon her
Information or witnesses submitted to the               assertion that she had merely forgotten about it.
Decision-maker after the conclusion of the              UO_001062-65.
fact-gathering process will not be considered
and therefore will not become a part of the
Record absent a showing of good cause. If a
party believes there is good cause justifying the
consideration of additional information or
witnesses, the student may petition the
Decision-maker to submit the additional
information. If the Decision-maker determines

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            VIOLATIONS OF UNIVERSITY’S APPLICABLE PROCEDURES

that the additional information is relevant and
material, the Decision-maker may choose to
allow the student to submit the additional
information by a date established by the
Decision-maker.” Student Conduct Standard
Operating Procedures Regarding Sexual
Misconduct, Sexual Harassment, and
Unwanted Sexual Contact § 9. UO_000006-
07.
“The Administrative Conference is intended to         Disclosing Jane Roe’s counsel’s new
provide each party fair, ample and equal              explanation for Jane Roe’s destruction of the
opportunity for each party to respond to the          allegedly incriminating iMessages on the day
Record, including posing questions to the             of the hearing, thereby affording John Doe no
Decision-maker, the other party and                   opportunity to prepare a response.
witnesses.” Student Conduct Standard                  UO_000758-60.
Operating Procedures Regarding Sexual
Misconduct, Sexual Harassment, and                    Ms. Millie’s failing to provide John Doe with
Unwanted Sexual Contact § 10. UO_000007.              information as to whether, during the
                                                      investigation, Jane Roe disclosed to her that the
                                                      iMessages had been intentionally destroyed.
                                                      UO_001019-21.

                                                      Failing to provide John Doe access to the full
                                                      record because Millie conducted
                                                      undocumented interviews of Jane Roe without
                                                      disclosing to John Doe the information thereby
                                                      collected. Compare UO_000758-60 with
                                                      UO_000623-57.

                                                      Failing to provide John Doe access to the full
                                                      record by allowing Jane Roe to testify in a
                                                      separate room, while the decision-maker was
                                                      able to observe all of Jane Roe’s nonverbal
                                                      testimony and her demeanor. Tr. of
                                                      Proceedings at 1.

                                                      Millie’s reliance on Officer Meyer’s summary
                                                      of his analysis of the Facebook Message
                                                      submitted by Jane Roe, and the failure to give

                                                  3

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                                                        John Doe the opportunity to respond to Officer
                                                        Meyers’s report. UO_001062-63.

                                                        Ms. Millie relied on undisclosed “expert”
                                                        evidence concerning trauma’s effect on a
                                                        victim’s memory to excuse the Complainant’s
                                                        inconsistencies regarding the time of the
                                                        alleged assault. Ms. Millie announced this
                                                        “expert” evidence in her decision, allowing
                                                        John Doe no opportunity to refute the pseudo-
                                                        scientific assumptions on which Ms. Millie
                                                        relied. UO_0001071-72.



“[N]ew or additional information or new or              Millie admitted to the record a Facebook
additional testimony that was available and             message submitted by Jane Roe upon her
could have been provided but was not                    assertion that she had merely forgotten about it.
previously provided to the Decision-maker               UO_000758-60.
during the fact-gathering investigation will not
be allowed. Parties may request exceptions to           Millie’s reliance on Officer Meyer’s summary
these rules by filing a petition with the               of his analysis of the Facebook Message
Decision-maker showing why there is good                submitted by Jane Roe, and the failure to give
cause to consider new or additional                     John Doe the opportunity to respond to Officer
information. Should good cause exist to                 Meyers’s report. UO_001062-63.
consider new or additional information during
the Administrative Conference, the Decision-            Millie’s reliance on unqualified “expert”
maker shall have the authority to conduct any           evidence outside the record to make crucial
such additional fact finding as may be                  actual findings in support of the determination
necessary.” Student Conduct Standard                    of guilt, and the failure to give John Doe the
Operating Procedures Regarding Sexual                   opportunity to refute this pseudo-science.
Misconduct, Sexual Harassment, and                      UO_0001071-72.
Unwanted Sexual Contact § 10. UO_000008.
“The decision as to whether the Accused                 Millie’s reliance on unqualified expert
Student’s behavior, as set forth in the Notice of       evidence outside the record to make crucial
Allegations, violated the student conduct code          factual findings in support of the determination
will be based on whether information within             of guilt. UO_0001071-72.
the Record demonstrates that it is more likely
than not that the conduct occurred.” Student
Conduct Standard Operating Procedures

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           VIOLATIONS OF UNIVERSITY’S APPLICABLE PROCEDURES

Regarding Sexual Misconduct, Sexual
Harassment, and Unwanted Sexual Contact §
13. UO_000010.
“Procedural fairness is basic to the proper       Failing to provide John Doe with a fair hearing
enforcement of all University regulations.”       before an impartial tribunal based on Millie’s
University of Oregon Student Conduct Code         drawing all inferences in favor of Jane Roe and
§ 2. UO_000010.                                   against John Doe, even when those inferences
                                                  were illogical and arbitrary. Millie also
                                                  excused all of Jane Roe’s inconsistencies while
                                                  discounting all of John Doe’s evidence, which
                                                  included the four polygraph tests that
                                                  established his innocence.
                                                  UO_001052-77.




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                 IN THE CIRCUIT COURT OF THE STATE OF OREGON
                               FOR LANE COUNTY


JOHN DOE,                                                 Case No. 16CV30413

                                  Petitioner,                 JUDGMENT

                    vs.

UNIVERSITY OF OREGON,

                               Respondent.



       THIS MATTER having come before the court for hearing on December 13, 2016, on the
Writ of Review of the findings and final order rendered in the matter of University of Oregon
Student Conduct Case Number 00425-001-2016, the Petitioner appearing through counsel Janet
Lee Hoffman and Douglas Stamm, and the Respondent appearing through counsel Amanda
Walkup and Melissa Matella; and the court hearing the arguments of counsel and being
otherwise fully advised;

        IT IS HEREBY ORDERED AND ADJUDGED that the University of Oregon’s final
order is reversed and the sanction imposed by the University on the petitioner is vacated.


                                                                       Signed: 12/21/2016 11:45 AM




                                                          ______________________________




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Of Attorneys for Plaintiff




                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                       EUGENE DIVISION


 JOHN DOE,                                                            Case No. 6:17-cv-01103-AA

                Plaintiff,                              SECOND AMENDED COMPLAINT

        v.                                              (Violation of Federal Civil Rights Law,
                                                        42 U.S.C. § 1983; Violation of Title IX;
 UNIVERSITY OF OREGON, SANDY                            Breach of Contract; Breach of
 WEINTRAUB, an individual acting in his                 Covenant of Good Faith and Fair
 personal capacity; CAROL MILLIE, an                    Dealing)
 individual acting in her personal capacity; and
 ROBIN HOLMES, an individual acting in her
 personal capacity.                                     DEMAND FOR JURY TRIAL

                Defendants.


       Plaintiff, John Doe (“John Doe”), by and through his undersigned attorney hereby alleges

against Defendants University of Oregon, Sandy Weintraub, Carol Millie, and Robin Holmes:

                                 JURISDICTION AND VENUE

    1. Jurisdiction is conferred upon this Court by 28 U.S.C. § 1331, federal question

         jurisdiction, and 28 U.S.C. § 1343, civil rights jurisdiction.

    2. John Doe requests this Court invoke its supplemental jurisdiction pursuant to 28 U.S.C.

1 – SECOND AMENDED COMPLAINT                                                42O5545 15976-001


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       § 1367 with respect to all causes of action based on Oregon statutory provisions or

       common law because the state claims arise from the same nucleus of operative facts as

       the federal claims.

   3. Venue is in the District of Oregon pursuant to 28 U.S.C. § 1391(b) because the claim

       arose in this judicial district.

                                           PARTIES

   4. John Doe is a citizen and a resident of Oregon, and at all relevant times was a student

       duly enrolled at the University of Oregon.

   5. Plaintiff’s name is represented herein by pseudonym as required under the Family

       Education Rights and Privacy Act (“FERPA”) (20 U.S.C. § 1232g; 34 CFR Part 99).

       FERPA controls to the extent that it is not in conflict with constitutional rights and

       privileges.

   6. Defendant the University of Oregon (the “University”) is a public university established

       by state statute. ORS 352.002(1). The University is a governmental entity performing

       governmental functions and exercising governmental powers.            ORS 352.033.        The

       University is an institution of higher education that receives federal funding and is subject

       to Title IX (20 USC §§ 1681, et seq.).

   7. The University has a governing Board of Trustees, ORS 352.054, and is located in

       Eugene, Oregon.

   8. State law authorizes the University to establish policies for the administration of the

       university that have the force of law and may be enforced through university procedures.

       ORS 352.087(1)(m). The Board may delegate and provide for the further delegation of

       university powers, rights, duties, and privileges.       (Article III, University Bylaws,



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       approved September 11, 2015).

   9. The University, through its Director of Student Conduct and Community Standards, has

       developed procedures to control the investigation and adjudication of allegations of

       sexual misconduct by the University’s students.

  10. At all times material hereto, the University acted by and through its agents, servants,

       employees, and representatives, who were acting in the course and scope of their

       respective agencies or employment and/or in the promotion of the University’s business,

       mission and/or affairs.

  11. Defendant Sandy Weintraub is, and was at all relevant times, the Director of Student

       Conduct & Community Standards at the University. The University’s Procedures for

       investigating and adjudicating student sexual misconduct allegations were developed by

       the Office of the Director. The Director appoints the decision-maker to investigate and

       adjudicate the allegations in a specific case. Upon information and belief, Weintraub

       resides in Oregon.

  12. Defendant Carol Millie was at all relevant times Senior Equal Opportunity Specialist in

       the Office of Affirmative Action and Equal Opportunity at the University. Millie was the

       University’s    designated   representative,   or   “Decision-maker,”   responsible     for

       investigating and adjudicating allegations of student sexual misconduct against

       Petitioner-Plaintiff.   In that capacity, Millie served as the hearing officer for the

       adjudicative proceeding regarding the allegations against Petitioner-Plaintiff. Upon

       information and belief, Ms. Millie resides in Oregon.

  13. Defendant Robin Holmes was at all relevant times Vice President for Student Life at the

       University. In that capacity, Holmes was responsible for hearing any appeal of any



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           adjudication against Plaintiff.   In addition, Holmes had supervisory authority over

           Defendant Weintraub and over the person that Holmes designated to handle Plaintiff’s

           appeal. Upon information and belief, Ms. Holmes resides in California.

                                     STATEMENT OF FACTS

      14. In February 2016, John Doe and Jane Roe were students at the University of Oregon.

           That month, John Doe received notice that Jane Roe had accused him of sexual

           misconduct—allegations which he consistently denied as false. He passed four polygraph

           examinations that established as true his version of events.

      15. After a biased investigation and procedurally inadequate adjudication of the allegations,

           however, the University suspended John Doe for one year.

      16. On July 20, 2016, John Doe appealed the University’s decision and sanction. In response,

           on July 26, 2016, while retaining final authority over the appeal, defendant Holmes

           assigned the appeal to her designee.

      17. Defendant Holmes’s designee affirmed the decision and sanction on September 7, 2016.

           Defendant Holmes approved of her designee’s decision and sanction.

      18. On September 16, 2016, John Doe filed a petition for writ of review (case number

           16CV30413) in Lane County Circuit Court. On review, the court held that the University

           violated several of its policies and procedures during the adjudication of the alleged

           disciplinary actions. The court therefore entered judgment against the University on

           December 22, 2016, reversing the University’s decision and vacating the imposed

           sanction. The court further ordered from the bench that the University not pursue further

           disciplinary action against John Doe.

///



4 – SECOND AMENDED COMPLAINT                                                 42O5545 15976-001


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                University’s Applicable Procedures Governing Investigations
                    and Adjudications of Sexual Misconduct Allegations

  19. The University’s Student Conduct Code and Sexual Misconduct Standard Operating

       Procedures (“SOPs”) set forth the University’s policies and procedures for investigating

       and adjudicating alleged disciplinary violations, including alleged violations of the

       University’s sexual misconduct policies.

  20. The Student Conduct Code in force at all material times hereto set forth the general

       procedural protections an accused student may expect, and stated: “Procedural fairness is

       basic to the proper enforcement of all University regulations.”

  21. The Student Conduct Code further stated: “Regulations and disciplinary sanctions

       affecting the conduct of all Students shall be based on general principles of equal

       treatment.”

  22. The Student Conduct Code guaranteed a student accused of sexual misconduct an

       “opportunity to respond to all information provided . . . .” to the University decision

       maker.

  23. The SOPs in force at all times material hereto set forth in greater detail the procedures to

       be followed in investigating and adjudicating complaints of sexual misconduct.

  24. The SOPs stated: “[T]hese procedures shall be interpreted and applied consistent with the

       Violence Against Women Act, Title IX, their implementing regulations and relevant

       agency guidance, and other controlling state and federal law.”

  25. Pursuant to the University’s procedures, the investigation and adjudication of student

       sexual misconduct allegations typically proceeded according to the following time

       frames: “(1) Fact-gathering investigation (40 days); (2) Review of Record (a period of 5

       calendar days after the closing of the fact-gathering investigation); (3) Administrative

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       Conference (5 calendar days after the close of the Review of Record). These timeframes

       may only be altered or extended for good cause.”

  26. The fact-gathering process, together with the Administrative Conference, constituted the

       mechanism by which the University assessed and took formal disciplinary action

       regarding student misconduct violations of University policy.

  27. The University could designate an appropriate University representative, referred to as

       the “Decision-maker,” to both investigate and adjudicate the allegations in a specific case.

  28. The Decision-maker controlled the record and, based on that record, determined by a

       preponderance of the evidence whether an accused student committed misconduct.

  29. As the gatekeeper of the record, the Decision-maker was authorized by the University’s

       procedures to take necessary measures throughout the investigation and adjudication process

       to ensure that each party was afforded constitutionally sufficient notice and opportunity to

       view and respond to evidence.

  30. The Decision-maker was charged with creating a record of all relevant information

       obtained before or during the fact-gathering investigation (the “Record”).

  31. The accused student and the complainant were to be afforded an opportunity to review

       the Record for a period of five days after the conclusion of the fact-gathering

       investigation, and before the Administrative Conference.

  32. The Administrative Conference was intended to provide fair, ample, and equal

       opportunity for each party to respond to the Record, including posing questions to the

       Decision-maker, the other party, and witnesses.

  33. At the Administrative Conference, the parties could not directly question other parties or

       witnesses. Only the Decision-maker could pose questions to the complainant and the



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      accused student, including questions suggested and provided in writing by the parties.

      The parties’ proposed questions became part of the Record. The Decision-maker posed

      questions to a witness or party to whom the question was directed if she concluded that

      the questions were relevant and not unduly harassing. Responses to those questions

      become a part of the Record.

  34. The University’s procedures expressly prohibited both the accused and the complainant

      from introducing new or additional evidence after the conclusion of the fact-gathering

      process. Such evidence was not to be considered or to become part of the Record.

  35. The procedures also separately and specifically barred the admission of any new or

      additional evidence at the Administrative Conference that could have been provided to

      the Decision-maker during the fact-gathering investigation. Such evidence was not to be

      allowed or considered. The only exception to those rules was for good cause.

  36. To justify the introduction and consideration of new or additional evidence for good

      cause, a party could petition the Decision-maker. To request an exception to the bar

      against the admission of previously available, but unsubmitted, evidence, a party must

      have filed a petition with the Decision-maker showing why there was good cause for such

      admission.

  37. For the Administrative Conference to be conducted fairly and in conformity with the

      University’s procedures, the Decision-maker was required to give the complainant a

      reasonable opportunity to present information. Further, the accused also must have

      received reasonable notice and an opportunity to prepare and respond to the allegations.

                University’s Illegal Investigation and Adjudication of Plaintiff’s Case

  38. Jane Roe and John Doe met during the early fall term of 2015, and they sometimes



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       engaged in consensual sexual activity. Around the middle of the fall term, however, John

       Doe wanted to be in a serious relationship with someone, but Jane Roe wanted to have a

       more casual sexual relationship, which was not appealing to John Doe.

  39. John Doe became highly concerned that Jane Roe had infected him with the herpes virus

       because he believed she had cold sores. John Doe is an extreme “germaphobe”—a fact

       to which several witnesses testified at the disciplinary hearing. John Doe became so

       concerned that he had contracted herpes, that he went to the student health facility and

       text messaged his mother about his concerns.

  40. John Doe and Jane Roe started talking again during winter term of 2016. Given John

       Doe’s belief that Jane Roe was infected with the herpes virus, however, he had no interest

       in engaging with her sexually.

  41. On February 11, 2016, Jane Roe and John Doe met for coffee and then took a walk. Jane

       Roe’s boyfriend had just broken up with her, although John Doe reported that they did

       not talk about the breakup. John Doe walked with Jane Roe after coffee because she had

       complained that she could not smoke in her dorm room. John Doe offered to show her

       some places he thought that she might be able to smoke.

  42. On the night of February 12, 2016, Jane Roe contacted John Doe, who lived in the same

       dorm, because she was highly intoxicated and afraid that, if she fell asleep, she might

       inhale her own vomit. She asked John Doe to watch over her, and John Doe agreed. Jane

       Roe came to his dorm room, and immediately collapsed onto his roommate’s bed. John

       Doe positioned Jane Roe on her side to protect her from asphyxiation and removed her

       outer cardigan, in which her hand had become entangled.

  43. John Doe then left his room to take a shower. After showering, he did some laundry and



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       subsequently fell asleep on a couch in the downstairs lounge of his dorm. Several

       witnesses corroborated this series of events.

  44. In the early morning of February 13, 2016, around 3:30 A.M., John Doe returned to his

       dorm room. He fell asleep sitting up in his own bed, while Jane Roe continued to sleep

       in his roommate’s bed. When John Doe awoke, Jane Roe was gone.

  45. On February 18, 2016, the University notified John Doe that Jane Roe had filed with the

       University a sexual misconduct complaint against him.

  46. Jane Roe had filed her complaint on February 16, 2016, and two days later, the University

       issued an emergency-action housing change against John Doe, requiring him to move to

       another dorm.

  47. Defendant Holmes reviewed the University’s emergency-action housing change, and

       approved it.

  48. The University’s Student Conduct Code provides that a preliminary hearing must be held

       within two business days of the emergency action.

  49. For some time after the emergency action, the University maintained that John Doe had

       been forced to change dorms not as an emergency action but pursuant to the contract

       provisions in his housing agreement. Ultimately, the University acknowledged that the

       move was pursuant to its emergency action procedures.

  50. In violation of the University’s policies and procedures, a preliminary hearing on the

       emergency action was not afforded John Doe until April 15, 2016, approximately two

       months after the University removed John Doe from his dorm.

  51. On April 18, 2016, defendant Sandy Weintraub sustained the emergency action requiring

       John Doe to change dorms.



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  52. On April 22, 2016, Defendant Holmes denied John Doe’s appeal of the University’s

       emergency action requiring him to change dorms.

  53. On May 4, 2016, Defendant Holmes again denied John Doe’s request to review the

       University’s emergency action requiring him to change dorms.

  54. Due to the emergency action, John Doe was prohibited from visiting his friends or eating

       in the Hamilton dorm complex.

  55. As a result of Jane Roe’s accusations, the University initiated an investigation and

       scheduled an Administrative Conference for May 17, 2016.

  56. Defendant Carol Millie was designated as the Decision-maker in the case.

  57. In the course of the investigation, Millie conducted documented interviews of Jane Roe

       on February 23, 2016, and again on April 6, 2016. As is discussed below, the Record

       suggests that Millie may have interviewed Jane Roe on other occasions without including

       summaries of those interviews in the Record, in violation of the University’s SOPs.

  58. According to one of Jane Roe’s first versions of the alleged assault, after she had passed

       out on the night of February 12, 2016, John Doe pulled her onto the floor and on top of

       him. He then, according to Jane Roe, sexually assaulted her by kissing her, putting his

       hands down her pants, and attempting to touch her vagina through her underwear.

  59. She also claimed that immediately after the assault, John Doe left the room to take a

       shower, and she quickly texted her ex-boyfriend: “Just for documentation, can you make

       it known I was almost raped tonight?” The time stamp of that iMessage reflects that it

       was sent at 3:24 A.M.

  60. During the investigation period, John Doe provided Millie with the results of two

       polygraph examinations confirming that he had not engaged in sexual contact with Jane



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       Roe on the night in question.

  61. Jane Roe also falsely reported that she and John Doe exchanged iMessages the morning

       after the assault, in which he apologized for the assault. Jane Roe, however, could not

       produce the original iMessages. Instead, she presented Millie with a screen shot of the

       iMessages, which Jane Roe claimed she had taken in case she later decided to file a

       complaint.

  62. To explain why the original iMessages were no longer available for inspection, Jane

       Roe’s counsel reported to Millie that, the morning after the assault, Jane Roe deleted John

       Doe’s contact information from her phone and blocked all text messages from him. Jane

       Roe’s counsel claimed that, based on information that she and Jane Roe had learned

       through consulting with Jane Roe’s cellular phone service provider, all previous text

       messages from John Doe were automatically deleted when Jane Roe blocked his contact

       information.

  63. As is further discussed below, John Doe presented to Millie expert testimony that

       iMessages are not automatically deleted when contacts are deleted and messages are

       blocked. He presented further expert testimony explaining how a person may create a

       fake iMessage on her phone and then delete the fake message after producing a screen

       shot of it.

  64. Once an original text message is deleted, there is no way to verify the authenticity of the

       screen shot.

  65. As is discussed in more detail below, when Jane Roe was confronted with John Doe’s

       expert evidence, she changed her story about the deletion of the iMessages, claiming,

       through counsel, that she intentionally destroyed them at the time that she blocked John



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       Doe’s number and that she had reported as much to Millie during the investigation.

       Despite Jane Roe’s claims that she told Millie that she had intentionally deleted John

       Doe’s iMessages, that version of the deletion story is not contained anywhere in Milllie’s

       reports.

  66. On the afternoon of February 13, 2016, Jane Roe met her ex-boyfriend for tea. He was

       appropriately concerned for Jane Roe after the message he’d received at 3:24 A.M. the

       previous night. He encouraged her to prosecute John Doe through the university system

       and proposed that she try to elicit an incriminating text message from John Doe or record

       a phone call with him establishing his guilt. Despite the fact that her ex-boyfriend was

       encouraging her to obtain incriminating text messages from John Doe, Jane Roe failed to

       mention that she had already received such iMessages that very morning. Nor did she

       mention that she had taken a screen shot of the iMessages for the sake of preserving

       evidence.

  67. John Doe passed a polygraph confirming as truthful that he and Jane Roe had not traded

       any iMessages concerning the alleged sexual assault.

  68. Jane Roe’s accusations against John Doe were false and were intended to garner

       sympathy and attention from her ex-boyfriend.

  69. As noted above, John Doe passed a polygraph confirming that he had not engaged in any

       sexual contact with Ms. Roe on the evening of the alleged assault.

  70. Jane Roe’s account of events significantly changed over time and conflicted with

       bystander testimony, which should have severely undermined her credibility.

       Nonetheless, Millie unreasonably excused all inconsistencies and drew all inferences—

       without exception—in favor of Jane Roe.



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  71.    With regard to the walk Jane Roe had taken with John Doe on February 11, 2016, Jane

        Roe first reported to Millie that John Doe had “hit on her” during the walk and made

        sexual comments. According to her roommate’s testimony, Jane Roe also told her that

        John Doe had tried to kiss her, hold her hand and “do stuff.”

  72. But later, at the Administrative Conference, Jane Roe added dramatic details to her

        narrative regarding her walk with John Doe. During the hearing, she claimed for the first

        time that, while on their walk, John Doe had grabbed and slapped her buttocks, hugged

        her from behind—even picked her up and threw her over his shoulder. She also reported

        for the first time that John Doe so frightened her on the walk that she had to run away

        from him.

  73. John Doe consistently denied that he made any sexual advances toward, or engaged in

        any physical contact with, Jane Roe during the walk.

  74. Despite Jane Roe’s shifting story about what had happened on the walk, Millie ultimately

        determined that Jane Roe’s version of events was more credible than John Doe’s. She

        then relied on her factual findings regarding the walk to support her ultimate finding that

        John Doe sexually assaulted Jane Roe the following evening.

  75. Additionally, Millie arbitrarily found John Doe’s testimony about the walk to be not

        credible because, she reasoned, if he feared sexual contact with Jane Roe due to his

        germaphobia, he would not have gone on a walk or have had coffee with her. Millie

        simply overlooked the scientific fact that one cannot contract herpes by walking or having

        coffee with another person.     Thus, it was unreasonable to infer from John Doe’s

        willingness to have coffee and go for a walk with Jane Roe that his testimony about his

        sexual aversion to Jane Roe lacked credibility.



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  76. Further, it is unreasonable to credit as true an ever-shifting and increasingly elaborate

       story of the walk, as Millie did, merely because Jane Roe told her roommate that John

       Doe had hit on her during the walk. Jane Roe’s falsely confiding in her roommate was

       motivated by her need for attention and her desire to inflame her ex-boyfriend’s jealously.

  77. Jane Roe’s testimony also changed from her first interview with Millie on February 23,

       2016, to her second interview on April 6, 2016. Her later testimony included new,

       sensational details about the assault. For instance, she claimed for the first time in her

       second interview that, at the time of the assault, John Doe was slapping her awake and

       interrogating her as to how many sexual partners she had had.

  78. But, from the time that Jane Roe entered his dorm room until well past 3:24 A.M. (when

       Jane Roe sent the text to her ex-boyfriend falsely accusing John Doe), the door to John

       Doe’s room had been left partially open. In the dorm room immediately opposite John

       Doe’s, two witnesses were playing video games with the sound turned low and the door

       open wide. The witnesses testified that they would have been able to hear any noises

       coming from John Doe’s room. They heard nothing: no slapping, no questions, no

       protestations, no yelling.

  79. Millie, however, unreasonably dispensed with all witness testimony that undermined Jane

       Roe’s chronology by finding that the assault simply must have occurred much earlier than

       Jane Roe remembered. Millie premised her finding on an undisclosed “expert” opinion

       regarding trauma’s effect on a trauma victim’s memory—evidence that was not in the

       Record.    Based on this undisclosed and unqualified “expert” evidence, Millie

       unreasonably concluded without support that Jane Roe’s trauma must have left her

       confused about the time. Millie thereby side-stepped the obvious inconsistency between



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       Jane Roe’s and the witnesses’ testimony—which was the centerpiece of John Doe’s

       defense.

  80. Millie used the undisclosed expert opinion to find that Jane Roe’s stories shifted because

       she suffered from trauma-induced memory problems and that the evidence that Jane Roe

       had suffered a trauma was that her stories shifted. Millie’s reasoning was circular and

       outcome-driven.

  81. Based on her circular reasoning, Millie found that the sexual assault did not occur

       immediately before 3:24 A.M.—even though that is the only time in the record that is

       tethered to the evidence. 3:24 A.M. is the time when Jane Roe sent the iMessage to her

       ex-boyfriend, and in every version of the facts related by Jane Roe, she reported that the

       assault occurred immediately before she sent that text.

  82. In other words, Millie created a Catch-22 situation in which John Doe could not possibly

       establish his innocence: if his accuser’s testimony was consistent, Ms. Millie would find

       her credible and determine that the alleged assault occurred. But if his accuser’s

       testimony was inconsistent, Millie would attribute the inconsistency to trauma-induced

       memory issues, the existence of which, according to her faulty analysis, would prove that

       the alleged assault occurred. Thus, the outcome was predetermined.

  83. Such a backward approach to determining credibility violated John Doe’s due process

       rights because he was effectively deprived the right to confront his accuser, to challenge

       her credibility through meaningful cross-examination, and to present a defense.

  84. On appeal to the University, John Doe submitted to Defendant Holmes’s designee an

       expert report from Dr. Daniel Reisberg, a highly qualified professor of psychology at

       Reed College who testified that the assumptions underlying Millie’s findings regarding



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       trauma and its effects on memory were not scientifically supportable. Had John Doe

       received notice before Millie’s decision that she intended to rely on pseudo-science,

       extraneous to the Record, to support her conclusion that Jane Roe’s inconsistencies were

       evidence of trauma, John Doe would have introduced Dr. Reisberg’s report into the

       Record before the hearing and decision. Instead, John Doe was provided no notice that

       Millie would premise her credibility determinations on such junk science.

  85. Defendant Holmes’s designee, without even mentioning Dr. Reisberg’s report, affirmed

       John Doe’s suspension based on Millie’s decision, including her credibility

       determinations. Defendant Holmes approved of her designee’s decision to affirm John

       Doe’s suspension.

  86. Moreover, Millie overlooked Jane Roe’s (or her counsel’s) inconsistencies regarding how

       the purportedly incriminating iMessages were deleted from Jane Roe’s phone. Jane Roe’s

       counsel first claimed that “we” contacted T-Mobile and learned that when Jane Roe

       deleted John Doe’s contact information from her phone and blocked all future messages

       from him, that process automatically deleted the incriminating iMessages. Later, after

       John Doe presented expert evidence that iMessages are not automatically deleted under

       those circumstances, Jane Roe’s counsel explained that she had been mistaken: Jane Roe

       intentionally deleted the iMessages when she deleted John Doe’s information and blocked

       his messages. Jane Roe’s counsel also claimed that Jane Roe had reported to Ms. Millie

       previously that she had intentionally deleted the messages. That information, however,

       does not appear in Millie’s summary of the investigation. Thus, either Jane Roe’s version

       of how the iMessages were deleted shifted after expert evidence showed it to be false

       (and Millie’s credibility determination was therefore unreasonable), or Millie failed to



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       provide John Doe with all of the evidence in the Record before the hearing, as is required

       by the University’s policies and procedures.

  87. Notably, Millie did not provide John Doe with any information as to whether Jane Roe,

       as she claimed, had told Millie during the investigation about the deliberate destruction

       of the iMessages. Millie, as the alleged recipient of that information, would have had

       first-hand knowledge as to the truth of Jane Roe’s claim that she had previously disclosed

       the iMessages’ deliberate destruction. Further, Millie was fully aware that John Doe was

       seeking to determine the truthfulness of Jane Roe’s claim, as well as requesting copies of

       any documentation from the investigation that reflected Jane Roe’s disclosure. Millie

       offered no information and dodged John Doe’s request for documentation of any

       additional interviews by referring him to the material already appearing in the Fact-

       Gathering Investigative Record.

  88. Additionally, in violation of his due process rights and the University’s policies and

       procedures, John Doe was not provided, before the hearing, with the exhibit in which

       Jane Roe’s attorney attempted to explain her erroneous prior statements regarding Jane

       Roe’s deletion of the iMessages allegedly sent to her by John Doe.

  89. John Doe therefore had no time to prepare a response to the convenient and wholesale

       reversal of Jane Roe’s testimony regarding the iMessages’ deletion.

  90. John Doe, through his attorneys, demanded he be allowed to question Jane Roe’s attorney

       regarding Jane Roe’s new explanation for the iMessages’ deletion to determine when Jane

       Roe first informed her attorney that she had intentionally deleted the messages (e.g., from

       the outset of the representation or only after John Doe had presented expert evidence that

       Jane Roe’s first explanation about the destruction of the messages was false).



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  91. Millie did not reconvene the conference to allow John Doe to directly cross-examine Jane

       Roe’s attorney, but allowed him to pose written questions to the attorney after the

       Administrative Conference.      John Doe submitted questions to Millie, who, having

       approved them as relevant, forwarded them to Jane Roe’s attorney.

  92. Unbeknownst to John Doe, however, Millie instructed the advisor that she could simply

       decline to answer.

  93. Having received Millie’s permission to do so, Jane Roe’s advisor declined to respond to

       the questions. Millie drew no adverse inference regarding Jane Roe’s credibility from her

       attorney’s refusal to answer questions, and Millie relied throughout her opinion on her

       finding that the iMessages had been exchanged between John Doe and Jane Roe.

  94. Additionally, Millie unreasonably ignored the fact that, although Jane Roe’s ex-boyfriend

       proposed that Jane Roe should elicit from John Doe an incriminating text to prove her

       allegations, Jane Roe said nothing to her ex-boyfriend about the incriminating iMessages

       that she had allegedly received just hours earlier. Instead, Millie arbitrarily credited Jane

       Roe’s illogical explanation that she had forgotten about the incriminating iMessages

       because her ex-boyfriend alternatively proposed recording a telephone call with John

       Doe.

  95. Millie also deprived John Doe of his right to present habit evidence that would have

       shown that he routinely assists others who are under the influence of alcohol and cannot

       take care of themselves. Millie incorrectly determined that John Doe’s proffered evidence

       was character evidence, the admission of which the SOPs prohibit. The failure to allow

       such evidence prejudiced John Doe because Millie discounted his testimony that he

       would not have sexually engaged with a person who might have vomited on him, given



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       his germaphobia. Millie found that, had he truly been so disgusted by the prospect of Jane

       Roe vomiting on him, he would not have allowed Jane Roe into his dorm room. But the

       habit evidence would have established that, whatever his revulsion to sexually engaging

       with a person who is intoxicated to the point of vomiting, that aversion would not have

       prevented him from helping that person, as he had routinely done so for others in the past.

  96. Millie unfairly allowed Jane Roe to introduce additional evidence into the Record long

       after the hearing’s conclusion. On May 27, 2016—ten days after the Administrative

       Conference—Jane Roe claimed to have remembered material evidence that she wished

       to add to the Record. Specifically, Jane Roe stated that she had suddenly recalled a

       Facebook message that she claimed John Doe sent to her the day after the alleged sexual

       assault. The message read: “Can I ask, are you going to report me?”

  97. Hearings officer Millie added that evidence to the Record without providing any notice

       to John Doe.

  98. The University’s Sexual Misconduct Standard Operating Procedures specifically prohibit

       submission of new evidence “that was available and could have been provided but was

       not previously provided to the Decision-maker during the fact-gathering investigation.”

  99. Nonetheless, hearings officer Millie kept the official Record open to allow Jane Roe to

       submit the additional evidence even though it had allegedly been available as of

       February 13, 2016, before Jane Roe ever filed a complaint against John Doe. Jane Roe

       never established good cause as to why she did not provide this evidence during the fact-

       gathering investigation beyond offering the incredible explanation that she had forgotten

       about it.

  100. In response, John Doe submitted expert evidence regarding a person’s ability to create a



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       misleading Facebook account using another person’s profile picture, from which

       damaging messages may be sent.         He also submitted the results of a polygraph

       examination confirming that he had never sent such a Facebook message to Jane Roe.

  101. In violation of the University’s procedures and John Doe’s due process rights, Millie

       relied on evidence to which John Doe was given no opportunity to respond, to find that

       he had sent the Facebook message. Before issuing her decision, Millie admitted additional

       evidence to the Record: the summary of University of Oregon Police Department Officer

       Royce Meyers containing his analysis of the Facebook message allegedly sent by John

       Doe. Officer Meyers’s summary reflects his understanding of what digital information

       is captured by Facebook’s servers concerning a person’s account and sent messages.

  102. John Doe was provided no notice that Millie would admit Officer Meyers’s summary to

       the Record and was afforded no opportunity to respond before Millie issued her decision,

       despite the fact that the Student Conduct Code provides that an accused student has a

       right to respond to all information provided to the Decision-maker.

  103. Millie unfairly noted in her decision that she found it suspicious that John Doe had

       conducted a factory reset of his computer on the same day that Jane Roe re-discovered

       the Facebook message. John Doe reset his computer on May 27, 2016, because his

       family’s computers had been infected with malware and he was concerned that his

       computer had been similarly infected. Millie was aware, however, that Jane Roe did not

       seek to have the Facebook message admitted until May 31, 2016. Thus, John Doe could

       have had no knowledge that a purported Facebook message would be at issue until days

       after he had completed the factory reset.

  104. Additionally, Millie stated in her decision that she considered the Record both with and



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       without the Facebook message and that her determination was unaffected by the

       information. But Millie relied on the Facebook message throughout her decision and

       listed it among the corroborating evidence supporting her decision.

  105. Significantly, Millie disregarded, without explanation, the fact that John Doe passed four

       polygraph tests establishing as truthful his denial of having had any sexual contact with

       Jane Roe on the night in question. As noted above, John Doe passed two polygraph

       examinations establishing the truthfulness of his denial of having sexually assaulted Jane

       Roe. He subsequently passed a polygraph examination establishing that he had never

       sent Jane Roe the relevant iMessages regarding the alleged sexual assault. Finally, he

       passed a polygraph examination establishing that he never sent Jane Roe the Facebook

       message at issue.

  106. Under Oregon law, the results of polygraph examinations are admissible in administrative

       proceedings. See Wiggett v. Oregon State Penitentiary, 85 Or App 635 (1987) (holding

       that a polygraph examination is admissible in prison disciplinary proceeding); Waisanen

       v. Clatskanie Sch. Dist., 220 Or App. 563, 575 (2009) (relying on Wiggett to uphold the

       admission of polygraph evidence in school teacher’s dismissal board hearing); State v.

       Hammond, 218 Or App 574, 576 (2008) (polygraph evidence in probation revocation

       hearing).

  107. Moreover, Millie dismissed, without explanation, compelling testimony from the

       administering polygrapher who stated that passing three polygraphs was unprecedented

       in her experience. The polygrapher also explained that while there may be concerns about

       false positives (that is, results inaccurately reflecting that a person is lying), polygraphs

       are highly reliable when the results reflect truthfulness.



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  108. The University’s decision to suspend John Doe therefore followed a biased investigation

       and hearing – both of which were conducted by Millie.

  109. Millie acted simultaneously as investigator, prosecutor, judge, and jury.

  110. John Doe was not allowed to cross-examine Jane Roe or any of her witnesses, thereby

       denying him any meaningful opportunity to confront the witnesses against him. All

       questions posed to the complainant or her witnesses were required to be submitted to and

       posed by Millie.

  111. Millie unfairly drew every inference in the complainant’s favor, took every opportunity

       to make adverse credibility determinations against John Doe, excused the complainant’s

       inconsistencies (sometimes by resorting to junk science), discounted without explanation

       John Doe’s having passed four polygraph tests, and ultimately issued an arbitrary decision

       against the overwhelming weight of the evidence.

  112. The University’s perceived need to respond to public criticism of colleges’ mishandling

       of claims of sexual assault created an environment that made it impossible for the

       University’s administration to impartially determine the facts.

  113. The University—concerned about the recent national and local attention focusing on the

       treatment of sexual assault complaints on college campuses—responded to Jane Roe’s

       accusations through arbitrary, discriminatory and illegal actions designed to reach a

       predetermined outcome, namely, John Doe’s suspension from the University.

  114. The University’s gender-based bias is apparent in Millie’s willingness to draw all

       inferences against John Doe, to dismiss all evidence presented by John Doe (whatever its

       strength), to overlook all inconsistencies in Jane Roe’s testimony, and to accept all of

       Jane Roe’s shifting explanations for destroying evidence or conveniently remembering



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       incriminating evidence months after it was available.

  115. The University’s gender-bias is also apparent in the discriminatory and selective way it

       applies or disregards its policies and procedures to disfavor male accused students.

  116. For instance, despite the University’s insistence on strict adherence to its required time

       frames when it favored the female complainant, the University, and specifically

       Defendant Holmes – through her designee - failed to similarly observe the required time

       limits for issuing a decision on John Doe’s appeal, much to the detriment of John Doe.

  117. John Doe’s attorney requested that the Administrative Conference be set a few weeks

       beyond the usual timeframe set forth in the SOPs because she would be out of the country

       on a long-planned trip. Millie refused to grant the extension, citing concerns that the delay

       would negatively impact the complainant, including her access to education. But when

       it came to deciding John Doe’s appeal, the University failed to render its decision within

       the required time, made no effort to notify John Doe that its decision would be delayed

       (until after John Doe’s attorney contacted the University), and failed to state good cause

       for the delay—all in violation of its procedures. The University’s decision on John Doe’s

       appeal was due on August 19, 2016. The University, through Defendant Holmes and her

       designee, issued its conclusory decision almost three weeks late, on September 7, 2016—

       allowing John Doe little time to challenge the appeal before the beginning of the fall term.

  118. As stated above, a Lane County Circuit Court, deciding John Doe’s petition for writ of

       review in case number 16CV30413, held that the University and Millie failed to observe

       the University’s policies and procedures. Specifically, the court held on review that the

       following actions violated the University’s stated policies and procedures:

         a. Millie’s disclosing Jane Roe’s counsel’s new explanation for Jane Roe’s



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             destruction of the allegedly incriminating iMessages on the day of the hearing,

             thereby affording John Doe no opportunity to prepare a response;

         b. Millie’s failing to provide John Doe access to the full record because Millie

             conducted undocumented interviews of Jane Roe without disclosing to John Doe

             the information thereby collected;

         c. Millie’s failing to provide John Doe access to the full record by allowing Jane Roe

             to testify in a separate room, while the decision-maker was able to observe all of

             Jane Roe’s nonverbal testimony and her demeanor.

         d. Millie’s failing to require Jane Roe’s advisor to answer questions regarding her

             explanation for the change in story about deletion of the iMessages;

         e. Millie’s relying on undisclosed “expert” evidence concerning trauma’s effect on a

             victim’s memory to excuse the Complainant’s inconsistencies regarding the time

             of the alleged assault; Millie announced this “expert” evidence in her decision,

             allowing John Doe no opportunity to refute the pseudo-scientific assumptions on

             which Millie relied;

         f. Millie’s, without a showing of good cause, admitting to the record (after the

             conclusion of the fact-gathering process) a Facebook message submitted by Jane

             Roe upon her assertion that she had merely forgotten about it; and

         g. Millie’s relying on Officer Meyers’s summary of his analysis of the Facebook

             Message submitted by Jane Roe, and the failure to give John Doe the opportunity

             to respond to Officer Meyers’s report.

  119. In addition to violating its own policies and procedures, the University’s and Millie’s

       actions, described above, deprived John Doe of basic due process and equal protection



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       rights guaranteed by the Fourteenth Amendment to the United States Constitution and by

       Title IX of the Education Amendment of 1972, 20 U.S.C. § 1681, et seq. (“Title IX”) and

       its implementing regulations.

  120. As a result of the University’s unlawful actions, John Doe’s reputation has been severely

       damaged and his academic performance has suffered greatly.

  121. Also as a result of the University’s unlawful actions, John Doe has suffered extreme

       emotional distress.

  122. Moreover, John Doe incurred sizeable attorney’s fees and other costs defending himself

       against the University’s unconstitutional actions throughout its investigation and

       adjudication of the complaint.

  123. John Doe therefore brings this action to obtain relief based on the University’s clear

       violations of the United States Constitution, Title IX, as well as for breach of contract.

  124. John Doe is entitled to an award of damages for the University’s and the individual

       defendants’ injurious actions, and to his reasonable attorneys’ fees and costs incurred in

       pursuing this action.

  125. Without appropriate redress, the unfair and illegal outcome of the disciplinary hearing

       will continue to cause damage to John Doe.

                                 FIRST CLAIM FOR RELIEF

                                  Violation of Equal Protection

                               (Against the individual defendants)

  126. John Doe incorporates and realleges paragraphs 1 through 125 as if fully set forth herein.

  127. Plaintiff brings this claim pursuant to 42 U.S.C. § 1983.

  128. The individual defendants’ actions were taken on the basis of Plaintiff’s gender and



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       violated his right to Equal Protection under the Fourteenth Amendment.

  129. The actions of the individual defendants were taken under color of state law.

  130. Individual defendants violated John Doe’s right to equal protection under the Fourteenth

       Amendment to the United States Constitution through their gender-biased handling of

       John Doe’s hearing and appeal described in the Statement of Facts, above.

  131. As a result of the individual defendants’ violations of his equal protection rights, John

       Doe has suffered monetary damages, emotional distress, loss of educational

       opportunities, and other direct and consequential damages.

  132. Individual defendants’ acts were reckless or callously indifferent to John Doe’s equal

       protection rights.

  133. Plaintiff seeks punitive damages and his reasonable attorneys’ fees under 42 U.S.C. §

       1988.

                               SECOND CLAIM FOR RELIEF

  Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, et seq.

                                    (Against the University)

  134. John Doe incorporates and realleges paragraphs 1 through 125 as if set forth fully herein.

  135. Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, et seq. (“Title IX”)

       provides, in relevant part, that:

               No person in the United States shall, on the basis of sex, be excluded from
               participation in, be denied the benefits of, or be subjected to discrimination
               under any education program or activity receiving Federal financial
               assistance.

  136. Upon information and belief, the University receives federal funding through various

       means including, without limitation, student loans provided to University students

       directly by the federal government and through other funds furnished by the federal

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       government.

  137. Regulations implementing Title IX require that schools “adopt and publish grievance

       procedures providing for the prompt and equitable resolution of student . . . complaints

       alleging any action which would be prohibited by” Title IX or its regulations. To assist

       schools with implementing those regulations, the Office of Civil Rights (“OCR”) of the

       United States Department of Education has identified a number of factors to be used in

       determining whether a school’s procedures satisfy the “prompt and equitable”

       requirements of the regulations. The procedures adopted by a school covered by Title IX

       must not only “ensure the Title IX rights of the complainant,” but must also “accord[] due

       process to both parties involved . . . .” Pursuant to the U.S. Department of Education’s

       “Question and Answers on Title IX and Sexual Violence,” “due process” must include,

       among other things, “[a]dequate, reliable, and impartial investigation of complaints,

       including the opportunity to present witnesses and other evidence.”

  138. The University deprived John Doe, on the basis of his sex, of his Title IX rights to due

       process and equal protection through the improper administration, and/or the existence of

       its Student Conduct Code and Sexual Misconduct Standard Operating Procedures and

       other applicable policies and procedures in force at all times material hereto.

  139. The University, in violation of Title IX, discriminated against John Doe based on his sex

       and, as a result, John Doe has been seriously and irreparably damaged. The University’s

       decision to initiate the proceeding, and its subsequent conduct of the proceedings, were

       affected by John Doe’s gender.

  140. The University discriminatorily investigated, charged, and disciplined John Doe.

  141. Upon information and belief, the University is engaged in an ongoing practice of gender



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       discrimination against male students and employees in the administration of its Student

  142. In violation of Title IX, the University discriminated against John Doe based solely on

       his gender and, as a result, seriously and irreparably damaged him. It discriminated

       against him by failing to comply with its own procedures and by failing to comply with

       the requirements of Title IX, in order to reach a pre-ordained result, due to his gender and

       based on gender stereotypes.

  143. The University created an environment in which John Doe, an accused male student, was

       denied due process so as to be almost assured a finding of guilt. Such a biased process

       deprived John Doe, as a male student, of educational opportunities on the basis of gender.

  144. The University of Oregon conducted its “investigation” and subsequent hearing in a

       manner that was biased against John Doe, based on his gender. From the beginning, the

       investigation and adjudication process was tilted in favor of Jane Roe, the female accuser,

       because of her gender.      The hearing officer/investigator, defendant Millie, largely

       accepted Jane Roe’s statements at face value and granted her the presumption of truth

       because she is female. John Doe did not have an equal opportunity to present evidence

       or to access the record, based on his gender.

  145. The University and its agents responded to Jane Roe’s accusations with arbitrary,

       capricious, discriminatory, and gender-based actions—including requiring John Doe to

       change dorms without notice or an opportunity to be heard before the forced relocation.

       Further, the preliminary hearing within two business days, as guaranteed by the Student

       Code of Conduct, was delayed for approximately two months.

  146. The University repeatedly failed to adhere to its stated policies and procedures.

  147. The University contributed to an erroneous outcome through the following:



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         a. Failing to provide adequate policies and procedures for the investigation and

             adjudication of complaints of alleged sexual misconduct;

         b. Violating the University’s policy against gender/sex-based discrimination by

             establishing a de facto presumption, on the basis of gender stereotypes, that John

             Doe committed sexual assault;

         c. Failing to allow John Doe to present a defense by denying him the opportunity to

             cross-examine or confront witnesses and by failing to allow him full access to the

             record before and during the hearing;

         d. Failing to provide John Doe with basic due process, including the opportunity to

             confront Jane Roe with questions to test her veracity and credibility and to explore

             her motivations for her accusations;

         e. Rendering an adverse decision against John Doe without sufficient evidence to

             support such a decision;

         f. Relying on undisclosed expert opinion to render an adverse decision against John

             Doe; and

         g. Failing to allow John Doe an opportunity to respond to Officer Meyers’s report,

             which was admitted to the record after the hearing and disclosed only after

             Ms. Millie’s decision was issued.

  148. The University’s gender bias affected the outcome of the proceeding.

  149. As a direct and proximate consequence of the University’s Title IX violation, John Doe

       has sustained significant damages including, but not limited to, being delayed in his

       educational pursuits, emotional distress, and reputational damage.

  150. John Doe has also suffered monetary damages, loss of educational opportunities, and



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       other direct and consequential damages.

  151. John Doe is entitled to recover damages for the University’s Title IX violations, in an

       amount to be determined at trial, plus prejudgment interest, reasonable attorneys’ fees,

       expenses, costs and disbursements, and appropriate equitable relief, as directed by the

       Court.

                                THIRD CLAIM FOR RELIEF

                                       Breach of Contract

                                    (Against the University)

  152. John Doe incorporates and realleges paragraphs 1 through 125 as if set forth fully herein.

  153. At all times material hereto, a contractual relationship existed between the University and

       John Doe. The Residence Hall Contract, Student Code of Conduct and the other related

       policies, procedures, and promises governing situations such as this one, the terms of

       which were unilaterally promulgated by the University, comprise the contract. Pursuant

       to that contract, the University was required to act in accordance with the Student Code

       of Conduct and SOPs and other applicable policies in resolving complaints of

       misconduct, in the investigation of those complaints, and in the process of adjudicating

       complaints of sexual misconduct.

  154. The promises set forth in the Residence Hall Contract, Student Code of Conduct and other

       policies are and were supported by valid consideration.

  155. John Doe fully performed all conditions precedent under the contracts by his compliance

       with all of his contractual obligations to the University, including payment for housing

       and annual tuition, and compliance with enrollment procedures.

  156. Based on the aforementioned facts and circumstances, the University materially breached



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       its contractual obligations to John Doe by, among other things:

         a. Discriminating against John Doe on the basis of his gender;

         b. Failing to provide adequate policies and procedures for the investigation and

             adjudication of complaints of alleged sexual misconduct;

         c. Violating the University’s policy against gender/sex-based discrimination by

             establishing a presumption, on the basis of gender stereotypes, that John Doe

             committed sexual assault;

         d. Failing to allow John Doe to present a defense by denying him access to the full

             record before and during the hearing;

         e. Rendering an adverse decision against John Doe without sufficient evidence to

             support such a decision;

         f. Relying on undisclosed expert opinion to render an adverse decision against John

             Doe; and

         g. Failing to notify John Doe in a timely manner that new evidence had been admitted

             to the record, which ultimately prevented John Doe’s experts from completing a

             rigorous forensic analysis in support of his defense.

  157. As a direct, proximate, and foreseeable consequence of these breaches, John Doe

       sustained significant damages, including, without limitation, loss of educational

       opportunities, economic injuries, and other direct and consequential damages.

                               FOURTH CLAIM FOR RELIEF

                     Breach of Covenant of Good Faith and Fair Dealing

                                    (Against the University)

  158. John Doe incorporates and realleges paragraphs 1 through 125 as if set forth fully herein.



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  159. The contract between the University and John Doe imposed upon the University a duty

       of good faith and fair dealing including a duty to conduct a diligent and unbiased

       investigation and adjudication of disciplinary matters according to the University’s

       Student Code of Conduct, SOPs, and other policies.

  160. The University breached and violated the covenant of good faith and fair dealing implied

       in its agreement with John Doe by failing to conduct a diligent, unbiased, and meaningful

       investigation and adjudication.

  161. The University also breached its implied covenant of good faith and fair dealing by,

       among other things, engaging in the conduct described in paragraph 156 above.

  162. As a direct, proximate, and foreseeable consequence of these breaches, John Doe

       sustained significant damages, including, without limitation, loss of educational

       opportunities, economic injuries, and other direct and consequential damages. John Doe

       is entitled to damages in an amount to be determined at trial, plus prejudgment interest,

       and appropriate equitable relief, as directed by the Court.

                                   FIFTH CLAIM FOR RELIEF

                                               Negligence

                                         (Against the University)

  163. John Doe incorporates and realleges paragraphs 1 through 125 as if set forth fully herein.

  164. John Doe provided defendant University of Oregon sufficient tort claim notice.

  165. Defendant University of Oregon held a special relationship with its students as invitees

       enrolled in the academic programs on the campus and as residents in its Residence Halls,

       owing a duty to take reasonable care in its disciplinary system for the well-being, health,

       safety, physical and emotional welfare of its students, including John Doe.



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  166. Defendant University of Oregon, by and through its agents and employees acting within

       the scope of their agency and employment, had a duty to John Doe to conduct a

       competent, diligent and unbiased investigation and adjudication of disciplinary matters

       according to the University’s Residence Hall Contract, Student Code of Conduct, SOPs,

       and other policies, and otherwise act in a reasonably prudent manner with regard to John

       Doe.

  167. Defendant University of Oregon breached its duties by engaging in the actions described

       supra.

  168. As a result of Defendants’ conduct, John Doe has suffered and will continue to suffer

       significant damages including, but not limited to, being delayed in his educational

       pursuits, emotional distress, and harm to his reputation.

  169. John Doe has also suffered monetary damages, loss of educational opportunities, and

       other direct and consequential damages.

                                   SIXTH CLAIM FOR RELIEF

                             Negligent Infliction of Emotional Distress

                                      (Against the University)

  170. John Doe incorporates and realleges paragraphs 1 through 125 as if set forth fully herein.

  171. Defendant University of Oregon held a special relationship with its students as invitees

       enrolled in the academic programs on the campus and as residents in its Residence Halls,

       owing a duty to take reasonable care in its disciplinary system for the well-being, health,

       safety, physical and emotional welfare of its students, including John Doe.

  172. Defendant University of Oregon, by and through its agents and employees acting within

       the scope of their agency and employment, had a duty to John Doe to conduct a



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       competent, diligent and unbiased investigation and adjudication of disciplinary matters

       according to the University’s Residence Hall Contract, Student Code of Conduct, SOPs,

       and other policies, and otherwise act in a reasonably prudent manner with regard to John

       Doe.

  173. Defendant University of Oregon breached its duties by taking the actions described supra

       with negligent disregard towards John Doe, causing him to suffer severe emotional

       distress.

  174. Defendants’ actions, as described supra, constituted an extraordinary transgression of the

       bounds of socially tolerable conduct.

  175. As a result of Defendants’ conduct, John Doe has suffered and will continue to suffer

       significant damages including, but not limited to, being delayed in his educational

       pursuits, emotional distress, and harm to his reputation.

  176. John Doe has also suffered monetary damages, loss of educational opportunities, and

       other direct and consequential damages.

                                 SEVENTH CLAIM FOR RELIEF

                            Intentional Infliction of Emotional Distress

                                        (Against the University)

  177. John Doe incorporates and realleges paragraphs 1 through 125 as if set forth fully herein.

  178. The acts of defendant University of Oregon, by and through its agents and employees

       acting within the scope of their agency and employment, as described supra were

       intentional and defendant knew or should have known that those acts would cause John

       Doe severe emotional distress.

  179. Defendant’s acts, as described supra, constituted an extraordinary transgression of the



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         bounds of socially tolerable conduct.

   180. As a result of Defendants’ conduct, John Doe has suffered and will continue to suffer

         significant damages including, but not limited to, being delayed in his educational

         pursuits, emotional distress, and harm to his reputation.

   181. John Doe has also suffered monetary damages, loss of educational opportunities, and

         other direct and consequential damages.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, John Doe, demands that judgment be entered in his favor and

against Defendants, for the following relief:

       a. Compensatory damages in an amount to be proven at trial, as well as prejudgment

           interest, punitive damages, reasonable attorneys’ fees, expenses and costs; and

       b. Such other relief that the Court deems just and proper under the circumstances.

       Plaintiff John Doe demands a trial by jury on all claims so triable.


       DATED this 14th day of December 2018.



                                                /s/ Christine N. Moore
                                                Christine N. Moore, OSB #060270
                                                cmoore@lbblawyers.com
                                                Attorneys for John Doe




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 14, 2018, I served the foregoing SECOND AMENDED

COMPLAINT on:

Amanda M. Walkup
awalkup@hershnerhunter.com
Lillian Marshall-Bass
lmarshall-bass@hershnerhunter.com
HERSHNER HUNTER, LLP
180 East 11th Avenue
P.O. Box 1475
Eugene, OR 97440
        Attorneys for Defendants

by the following indicated method or methods:

       CM/ECF system transmission.

       E-Mail (courtesy only).

       Email. As required by Local Rule 5.2, any interrogatories, requests for production, or
       requests for admission were emailed in Word or WordPerfect format, not in PDF, unless
       otherwise agreed to by the parties.

       Facsimile communication device.

       First class mail, postage prepaid.

       Hand-delivery.

       Overnight courier, delivery prepaid.




                                              s/ Kathy Baker
                                              Kathy Baker, Legal Assistant to Attorneys
                                              for Plaintiff John Doe




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